case 1:13-Cv-02052-0AB DOC #: 5-6 Fiied: 11/02/18 10r3. Pageio#: 127
2:37 4 .nl LTE CID

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Dan Eaton @DanEaton... -9/13/13 o
Condaoio and Barrio headed to oourt.

04 116 ©6 .;B

Vince Chase v
@VinTnei-iater

 

Re|o|ying to @DanEatonBizist

Tnet'e tunny. | v\/es in Cie\/e|and
months ego and a friend brought me
to Berrio. |n my need the entire time
|'m going ”Tnis piece is a |o|etent

oopy of Condeo|o. He"
9/13/18, 3154 Pi\/i from Co|umbus, OH

2 Lii<es

,O , 11 ® L:[:J,..

 

Tweet your reply

@i o ' o 8 z
EXHiBlTF

 

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Elizabeth Mi|ler \,»
, ' @llmil|erlZ

 

Going into a Condedo in Colum|ous, l
definitely thought it v\/es some l<ind
of Berrio soin-otl. end someone told
me the oo-lounder vves from
Berrio...so | did think they v\/ere
related

guess not...enymore

    

9/13/18,’|123 Pl\/i

2 Lil<es

9 fl @ L“L

 

Tweet your reply

@ Q © EJ

 

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2:41 4 .nl LTE Ci]»

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clevelanddotcom v @cl... ~9/13/'|8 v
The lawsuit alleges that Joe Kahn and

others behind Condado Tacos stole
trade secrets and violated an
agreement Kahn entered into When he
left the business partnership that
created Barrio. trib.a|/TdAzTo7

03 113 018 133

 

  

_ Drew Simpson \/

Rep|ying to @clevelanddotcom
@Ste\/emilerBand so apparently
they v\/ere not the same oompany

this \/\/hole time.
9/13/18, 2:39 Pi\/i

 

 

9 11 @ L’L

M Kevin Arnold @l<e\/inarno... ~9/'|3/'|8 v
Rep|ying to @dsimpson535
@clevelanddotoom and @...

Team barrio all day

 

  

 

_`Tvireet your reply

@ Q © 8

 

